487 F.2d 1344
    Richard J. BROOKS, a citizen, et al., Plaintiffs-Appellants,v.John A. VOLPE, as Secretary of the United States Departmentof Transportation, et al., Defendants-Appellees.Richard J. BROOKS, a citizen, et al., Plaintiffs-Appellees,v.John A. VOLPE, as Secretary of the United States Departmentof Transportation, et al., Federal Defendant, andWashington State Highway Commission etal., State Defendant-Appellants.
    Nos. 72-2543, 72-2981.
    United States Court of Appeals,Ninth Circuit.
    Dec. 7, 1973.
    
      Irving M. Clark, Jr.  (argued), J. Richard Aramburu, Seattle, Wash., for plaintiffs-appellants.
      Albert E. Stephan, Asst. U. S. Atty., Seattle, Wash., Robert B. Rutledge, Regional Counsel, U. S. Dept. of Trans., Portland, Or., Thomas R. Garlington, Asst. Atty. Gen.  (argued), Olympia, Wash., for defendants-appellees.
      Before LUMBARD,* BROWNING and DUNIWAY, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is another I-90 case, involving a proposal to add three lanes to the existing highway through the Snoqualmie Pass in the State of Washington.  The primary issues on appeal concern the district court's ruling that the environmental impact and section 4(f) statements prepared by the defendants in response to our decision in Brooks v. Volpe, 9 Cir., 1972, 460 F.2d 1193, do not comply with statutory standards.  We affirm the district court's holding on the authority of its opinion, 350 F.Supp. 269.
    
    
      2
      In addition, plaintiffs seek an order enjoining the further performance of four construction contracts which had been let at the time of the district court's ruling on the impact and 4(f) statements.  However, the defendants inform us that these contracts have been terminated since the filing of this appeal, and the district court specifically enjoined the letting of new contracts.  The plaintiffs having received the relief which they requested, we need not decide whether the district court's order permitting work on those contracts to continue violated our mandate in Brooks v. Volpe, supra.
    
    
      3
      Affirmed.
    
    
      
        *
         The Honorable J. Edward Lumbard, Senior United States Circuit Judge, Second Circuit, sitting by designation
      
    
    